- IN THE GENERAL COURT OF JUSTICE

NORTH CAROLINA )
) FILED — SUPERIOR COURT.PIVISION
STOKES COUNTY hn 18 CVS
VS HAR-9 249
LIFEBRITE HOSPITAL GROUP:
STOKES, LLC,
Plaintiff,

v. COMPLAINT

)
BLUE CROSS AND BLUE SHIELD OF)
NORTH CAROLINA, )

)

Defendant.

- Now comes Plaintiff LifeBrite Hospital Group of Stokes, LLC, complaining of Defendant
Blue Cross and Blue Shield of North Carolina, alleges:

FACTUAL BACKGROUND

1. LifeBrite Hospital Group of Stokes, LLC (hereinafter “LifeBrite”) is a healthcare
company organized and existing under the laws of the State of Georgia and is registered i in North
Carolina as a foreign company. LifeBrite’s principal place of business is located in Danbury,

Stokes County, North Carolina.

2. Blue Cross and Blue Shield of North Carolina (hereinafter “BCBSNC”) is a not-
~ for-profit corporation organized and existing under the laws of the State of North Carolina with its
principal place of business i in Durham County, North Carolina, and with offices in Wake County,

North Carolina.

3. This is an action concerning the refusal of BCBSNC to compensate LifeBrite for
covered services rendered to BCBSNC and/or its affiliate’s insureds. This is also an action based
on contract and breach of contract by BCBSNC, and for unjust enrichment by LifeBrite against

BCBSNC.

4. This Court has jurisdiction over Defendant pursuant to N.C. Gen. Stat. 1- ‘1 4 and
other applicable law.

5. ‘Venue is proper in this Court pursuant to N.C. Gen. Stat. 1-79 and other applicable
law. oe

6. LifeBrite operates a critical access hospital known as LifeBrite Community
Hospital of Stokes in Danbury, Stokes County, North Carolina (the “Hospital’”). The Hospital
offers a variety of customary hospital services, including inpatient, outpatient and outreach

laboratory.
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7. BCBSNC is the largest provider of private health insurance in North Carolina. It
is a licensee of the Blue Cross Blue Shield Association (the “Association”) which is a federation
of thirty-six (36) independent health insurance organizations and companies (the independent
plans are referred to as “BCBS Affiliates”). (https://www.bcbs.com/about-us/blue-cross-blue-

shield-system)

8. The Association operates the Blue Card program which allows policy holders of
BCBS Affiliates to secure healthcare nationwide from other BCBS Affiliates, including but not
limited to BCBSNC.. See Exhibit A.

9. LifeBrite and BCBSNC are parties to that Network Participation Agreement which
requires LifeBrite to provide services to members covered by plans issued or administered by
BCBSNC, its affiliates or another BCBS Affiliate (a “Member”). In turn, BCBSNC is required to
compensate LifeBrite for such services. A copy of the Network Participation Agreement, and its
assignment to LifeBrite, is attached hereto as Exhibit B. (pricing information is redacted).

10. The Network Provider Agreement adopts by specific reference and incorporates
BCBSNC’s policies and procedures. These policies and procedures are found in the “Blue Book,”
which is accessible at: http://bcbs.com/assets/ providers/public/pdfs/BlueBook_July2016.pdf.
Copies of the relevant excerpts are attached as Exhibit C. Section(s) 5.1 clearly states that all Blue
Card claims, i.e. claims for members of a BCBS Affiliate holding a blue card, should be sent to

BCBSNC and 5.1.1 clearly state that the Blue Card program applies to all claims except for the
following: prescription drugs, stand-alone dental, stand-alone vision and Federal Employees

- Program. These provisions are material to the Network Provide Agreement.

11. Starting with dates of service of November 14, 2017, in clear contravention and in

breach of the Network Participation Agreement, BCBSNC unilaterally started denying several
Blue Card claims stating that the claims should be sent to the State where the lab specimen was
drawn. These denials are a breach of the Network Provider Agreement and has been continual
since December 12, 2017. As of the date of filing of this Complaint, the Plaintiff has been damaged

in excess of $15,490,440.00.

12. By and through its agents, LifeBrite made several good faith efforts to resolve this
matter with BCBSNC, including but not limited to telephone calls and written correspondence to -
Network Management as set forth and required in the Network Participation Agreement.

FIRST CAUSE OF ACTION
BREACH OF CONTRACT

13. LifeBrite realleges and incorporates all of the foregoing paragraphs set forth in the
Complaint.

14... BCBSNC has materially breached the Network Participation Agreement by its
refusal to process claims and reimburse LifeBrite for services rendered to its members.

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15. .. LifeBrite is entitled to a judgment against the BCBSNC of the full amount due under
the Network Participation Agreement because of BCBSNC’s breach, plus interest at the rate of eight
percent (8.0%) per annum, plus reasonable attorney fees.

SECOND CAUSE OF ACTION
UNJUST ENRICHMENT

16. LifeBrite realleges and incorporates all of the foregoing paragraphs set forth in the
Complaint.

17. In the alternative, LifeBrite’s provision of services to. Members conferred a
valuable benefit to BCBSNC. BCBSNC has received services from LifeBrite in excess of.
$25,000.00, to which it should be required to compensate LifeBrite for the reasonable value of

those services.

18.  LifeBrite is entitled to a Jedement in excess of $25,000.00 from BCBSNC for the
unjust enrichment of BCBSNC.

WHEREFORE, the Plaintiff prays of the Court the following relief:

1. That the Court enter a judgment against the Defendant in the amount of the
outstanding balance due under the Network Participation Agreement which is in excess of
$25,000.00, plus all such other interest and charges as become due under the Network Participation

Agreement during the pendency of this litigation;

2. That the Court award Plaintiff i interest at the rate of eight percent (8.0%) as of the date
of the breach of the Network Participation Agreement;

4. That the Court award Plaintiff a judgment against Defendant for an amount in excess
of $25,000.00, from BCBSNC for unjust enrichment; :

5. That the Court award Plaintiff reasonable attorney fees and costs; and

6. For such other and further relief as the Court deems just and proper.

AG

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